                          Case 4:18-cr-00084-WTM-JEG Document 108 Filed 10/16/18 Page 1 of 7

GAS 245B              (Rev. 06/18) Judgment in a Criminal Case
DC Custody l SR



                                              United States District Court
                                                          SOUTHERN DISTRICT OF GEORGIA
                                                               SAVANNAH DIVISION

               UNITED STATES OF AMERICA                                              JUDGMENT IN A CRIMINAL CASE
                                       V.

                       Yampiel Crania Sotolongo
                                                                                     Case Number;                  4:18CR00084-2

                                                                                     USM Number:                   22530-021




                                                                                      Katie A. Brewington_
THE DEFENDANT:                                                                        iiefeiidanfs AUomcy
K pleaded guilty to Count 4.
□ pleaded nolo contendere to Count(s)                              which was accepted by the court.
□ was found guilty on Count(s)               _              after a plea of not guilty.

The defendant is adjudicated guilty of this offense:

Title & Section                                  Nature of Offense                                                       Offense Ended         Count


18U.S.C. § 1029(a)(5),                           Fraudulent use of access devices                                        October 7,2017           4

18U.S.C. § l029(c)(l)(A)(ii)


        The defendant is sentenced as provided in pages 2 through _ 7                     of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
□ The defendant has been found not guilty on Count(s)

13 Counts 1, 2, 3, and 5, are dismissed as to this defendant on the motion of the United States.

          It is ordered that the defendant must notily the United Stales Anomey for this district within 30 days ofany change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the Court and United States Attorney of material changes in economic circumstances.
                                                                                   October II, 2018
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           ^      .      •«                                                        William T. Moore, Jr.
                        -a-
           o—                                                                      Judge, U.S. District Court
                         Q-                                                        Name and Title of Judge
                        in
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                         c                                                         Date
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Case 4:18-cr-00084-WTM-JEG Document 108 Filed 10/16/18 Page 2 of 7
Case 4:18-cr-00084-WTM-JEG Document 108 Filed 10/16/18 Page 3 of 7
Case 4:18-cr-00084-WTM-JEG Document 108 Filed 10/16/18 Page 4 of 7
Case 4:18-cr-00084-WTM-JEG Document 108 Filed 10/16/18 Page 5 of 7
Case 4:18-cr-00084-WTM-JEG Document 108 Filed 10/16/18 Page 6 of 7
Case 4:18-cr-00084-WTM-JEG Document 108 Filed 10/16/18 Page 7 of 7
